
THE COURT.
Upon the grounds and for the reasons stated in the opinion this day filed in cases S. F. Nos. 12707 to 12766, both inclusive, ante, p. 148 [273 Pac. 797], the application of petitioners herein is denied and the petition is dismissed.
This order is made without prejudice to commence a proceeding in a court of competent jurisdiction for the purpose of determining such rights as petitioners may have, if any, that are not concluded by our opinion filed as aforesaid. All questions therein determined which may have a bearing on *798the rights asserted hy petitioners are to be regarded as the law of this case and are conclusive thereon.
Rehearing denied.
Shenk, J., and Curtis, J., voted for a rehearing.
